Case 10-15603-RTL          Doc 8     Filed 05/11/10 Entered 05/11/10 11:57:54             Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NEW JERSEY


In re:                                    :                    Case no.:        10-15603-RTL
                                                                               _______________
Jorge L. Padilla                          :
                                          :                    Chapter:               7
                                                                               _______________
                                          :
               Debtor(s)                  :                    Judge:          _______________
__________________________________________:


                               CERTIFICATION OF NO OBJECTION


         I hereby certify that there have been no objections filed relative to the following Notice of :

         ‘
         ✔      Abandonment

         ‘      Public Sale

         ‘      Private Sale

         ‘      Settlement of Controversy

         ‘      Auctioneer Compensation


         Description of Property (if applicable):
         23 E 3rd Street
         Howell NJ




      May 11, 2010
Date: _____________________                            JAMES J. WALDRON, Clerk



                                                                                         Last revised: 1/14/10
